Appellate
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                23-1135
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                                                   Date 08/31/2023
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                                         UNITED STATES COURT OF APPEALS
                                              FOR THE TENTH CIRCUIT

         ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                              PARTIES

     DARLENE GRIFFITH,

     Plaintiff-Appellant


      v.                                                                         Case No. 23-1135
     EL PASO COUNTY, COLORADO ET AL.,

     Defendants-Appellees


                              ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Kyle Velte, Ezra Young, Jeremiah Ho, Dru Levasseur, Nancy Marcus, Dara Purvis, Eliot Tracz, and Ann Tweedy
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Amici Curiae
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Kyle C. Velte
 ______________________________________                                     ______________________________________
 Name of Counsel                                                            Name of Counsel
 /s/ Kyle Velte
 ______________________________________                                     ______________________________________
 Signature of Counsel                                                        Signature of Counsel
 University of Kansas School of Law, 1535 W. 15th St., Lawrence, KS 66045
 ______________________________________                                     ______________________________________
 Mailing Address and Telephone Number                                       Mailing Address and Telephone Number
 kvelte@ku.edu
 ______________________________________                                     _____________________________________
 E-Mail Address                                                              E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.



 _________________________
 Date
 /s/ Kyle Velte
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
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                                                                       Page: Page:
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         
         ✔       All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________ I sent a copy of this Entry of Appearance
                             [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 _________________________
 Date

 /s/ Kyle Velte
 _______________________________________
 Signature




                                                    3
